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December 23, 2024

The Honorable Phyllis J. Hamilton, Senior U.S. District Judge
United States District Court, Northern District of California
Oakland Courthouse, Courtroom 3
1301 Clay Street, Oakland, CA 94612

Re:    Discovery Matter in WhatsApp, Inc. et al. v. NSO Group Techs., Ltd. et al., 4:19-cv-7123

Dear Judge Hamilton:

       Pursuant to the Court’s Standing Order, the Parties hereby submit this joint letter brief
regarding the deposition of Plaintiffs’ expert witness David Youssef.
       I.      NSO’s Position – NSO Is Entitled to Sanctions and Additional Time to Depose
               Plaintiffs’ Expert David Youssef Because of His Deposition Misconduct.
        The Court should reopen Mr. Youssef’s deposition and provide NSO additional time to
question Mr. Youssef. The Court should also compel Mr. Youssef to provide certain materials he
is required to provide under Rule 26(a)(2)(B) that have not been provided to NSO.
         Contrary to Plaintiffs’ argument below, the Court’s summary judgment order does not
make this motion moot because Mr. Youssef is likely to testify about remedy issues. Mr. Youssef’s
is expected to testify about at least: (i) Plaintiffs’ claims for compensatory damages (the alleged
compromising of WhatsApp servers that Plaintiffs seek damages for remediating); (ii) punitive
damages (that NSO’s conduct constitutes fraud); and (iii) injunctive relief (that enjoining the
installation of Pegasus by sending messages across WhatsApp’s servers is not against the public
interest). Defendants have asked Plaintiffs by email whether they will forego calling Mr. Youssef
as a witness (which would in fact moot this motion), and Plaintiffs have refused to respond.
Because Plaintiffs will not meet and confer, and because December 23, 2024 is the deadline for
filing this motion, Defendants have no choice but to file it, and the motion is not premature.
         Under Rule 30, “[t]he court must allow additional time … if needed to fairly examine the
deponent or if the deponent … impedes or delays the examination.” Fed. R. Civ. P. 30(d)(1)
(emphasis added). In addition, under Rule 37(a), “[a] party seeking discovery may move for an
order compelling an answer” when “a deponent fails to answer a question.” Fed. R. Civ. P.
37(a)(3)(B)(i). For purposes of this rule, “an evasive or incomplete answer must be treated as a
failure to answer.” Hernandez v. Barr, 2019 WL 4543101, at *7 (C.D. Cal. Apr. 12, 2019) (cleaned
up) (quoting Fed. R. Civ. P. 37(a)(4)), aff’d, 2019 WL 6998774 (C.D. Cal. June 18, 2019).
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       These rules support reopening Mr. Youssef’s deposition because he repeatedly failed to
provide straightforward, responsive answers to simple, straightforward questions. Instead, he gave
evasive, nonresponsive “filibuster” narratives that delayed the deposition and prevented NSO from
discovering information to which it is entitled. He did this throughout his deposition, the transcript
of which is attached as Exhibit A. NSO provides a few illustrative examples here.
        First, across six transcript pages, Mr. Youssef refused to answer directly whether he
“underst[ood] the FBI was a customer of NSO” or whether he was “provided end user license
agreements signed by the [FBI].” (Tr. at 238:3-243:6.) These questions are not “technically
incomprehensible” as Plaintiffs claim below, and they are relevant because they undermine his
testimony that the FBI would never “collect[] information” with technology like Pegasus. (Tr. at
237:5-16.). This is relevant to punitive damages—whether NSO acted in reckless disregard of
WhatsApp’s rights—as well as the propriety of injunctive relief—whether an injunction would
hurt the public interest. Second, across five pages, he refused to answer directly whether “Pegasus
messages cause[d] the WhatsApp servers to execute code that those servers would not normally
execute.” (Tr. at 332:23-337:13.) These questions bear directly on whether actions taken by
Plaintiffs’ engineers for which compensatory damages are being claimed were actually caused by
NSO. They also bear directly on Mr. Youssef’s opinion that NSO’s conduct was “fraudulent,”
which NSO understands to be a predicate for WhatsApp’s punitive damages claim. Third, across
ten pages, he refused to answer directly whether his reports “refer to 403 errors,” he “reviewed the
403 error messages,” or he knew “the content of the [403] message.” (Tr. at 288:14-297:6.) These
questions are relevant to his opinion that NSO accessed WhatsApp servers without authorization
solely because it received a contentless “403” message in 2018, which Plaintiffs intend to use to
support their claims of fraud and punitive damages.
        In all these instances (plus many others), Mr. Youssef provided nonresponsive boilerplate
narratives rather than direct answers to simple questions. Plaintiffs’ counsel exacerbated this
obstruction by making baseless “asked and answered” objections and improperly instructing Mr.
Youssef that he need not answer yes-or-no questions with yes-or-no answers.1 Courts routinely
reopen depositions in response to similar misconduct. For example, the court in Carter v. Telecare
Corp., 2019 WL 6703392, at *6 (C.D. Cal. Aug. 16, 2019) reopened a deposition when the witness,
like Mr. Youssef, “refused to answer simple, straightforward questions, necessitating that certain
questions be asked numerous times.” Like Mr. Youssef, the witness frequently “seemed to respond
to a different question than the one asked, became argumentative in response to simple questions,
and refused to answer yes or no to a yes or no question and made otherwise nonresponsive
remarks.” Id. at *8 (cleaned up). The court in Newmark likewise reopened a deposition when the



 1
   See Glaukos Corp. v. Ivantis, Inc., 2020 WL 1625836, at *8 (C.D. Cal. Mar. 2, 2020) (sanctioning such
objections); Newmark Grp. v. Avison Young (Canada) Inc., 2022 WL 1157476, at *4-6 (D. Nev. Apr. 19,
2022) (same); Natural-Immunogenics Corp. v. Newport Trial Grp., 2017 WL 10574264, at *8 (June 29,
2017), aff’d in relevant part, 2017 WL 10562691 (C.D. Cal. Aug. 7, 2017) (same).
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witness, like Mr. Youssef, “repeatedly failed to answer questions” by giving “lengthy non-
responsive answers.” 2022 WL 1157476, at *1.
        Courts have reopened depositions when witnesses fail to answer yes-or-no questions
directly, just like Mr. Youssef did.2 When asked a yes-or-no question, a “deponent must answer
‘yes’ or ‘no.’” Natural-Immunogenics, 2017 WL 10562691, at *5 (emphasis in original). “A
narrative is not an appropriate response to a ‘yes or no’ question,” and “[w]hen a question asks for
specific information, the deponent [must] answer the question in a concise responsive manner.”
Calderon, 2007 WL 735773, at *2.3 Mr. Youssef repeatedly violated that rule by “provid[ing]
lengthy unresponsive statements” in response to “questions that clearly called for ‘yes, no, or I do
not know’ or ‘true or false’ answers.” Petricevic, 2021 WL 11716432, at *4. Those improper
“narrative responses to ‘yes’ or ‘no’ questions” required NSO “to ask a number of additional
questions in [its] reasonable quest to obtain an unambiguous answer to the questions.” Miller, 205
F.R.D. at 541. But NSO’s “simple questions” often were “never answered,” despite numerous
attempts across multiple transcript pages. Newmark, 2022 WL 1157476, at *3-5 (emphasis added).
        Mr. Youssef has been identified as an expert in the technical matters underlying Plaintiffs’
claims. If his opinions are reliable, “[t]here is no reason that [he] should be evasively answering
these basic questions about his methodology.” Realtime Data, 2017 WL 11574028, at *8. His
refusal to answer straightforward questions in a straightforward way exposes the baselessness of
his opinions—and, accordingly, of Plaintiffs’ CFAA claims—and “prevents a meaningful cross-
examination of the basis of [his] opinions.” Id. For example, Mr. Youssef’s obstruction prevented
NSO from receiving clear answers to the questions he evaded and from being able to question him
about his opinions on, among many other topics, (1) whether Pegasus altered, damaged, or deleted
data from WhatsApp servers, (2) personal jurisdiction, (3) NSO’s use of WhatsApp relay servers,
(4) the supposed “exploits” and “access credentials” Mr. Youssef discusses in his report, and (5)
Mr. Youssef’s definitions of “reverse engineering” and “lawful intercept.” (Tr. at 353:19-357:8.)
For these reasons, NSO is entitled to reopen Mr. Youssef’s deposition and receive appropriate
answers to questions he evaded and prevented NSO from asking.
       The Court should also compel Mr. Youssef to provide the following, all of which is
required under Rule 26(a)(2)(B) but which he admitted in his deposition have not been provided:

  2
    E.g., Carter, 2019 WL 6703392, at *8; Natural-Immunogenics, 2017 WL 10562691, at *6; Petricevic v.
Shin, 2021 WL 11716432, at *4 (D. Haw. Mar. 9, 2021); Realtime Data, LLC v. Oracle Am., 2017 WL
11574028, at *3, 7-8 (E.D. Tex. Mar. 30, 2017); Calderon v. Symeon, 2007 WL 735773, at *2 (D. Conn. Feb.
2, 2007); Miller v. Waseca Med. Ctr., 205 F.R.D. 537, 541 (D. Minn. 2002); see also Van Osten v. Home Depot,
2020 WL 6449204, at *3 (S.D. Cal. Nov. 3, 2020) (extending deposition “delayed by non-responsive answers”);
Doe I v. Exxon Mobil Corp., 539 F. Supp. 3d 59, 73-75 (D.D.C. 2021) (reopening deposition where witness
“provided nonresponsive and evasive answers”).
  3
    If a deponent’s counsel believes a yes-or-no question is “misleading,” he “may object to the form of the
question” and “ask the deponent on cross-examination for a more complete answer.” Natural-
Immunogenics, 2017 WL 10562691, at *5. But “[d]irecting” the deponent “not to answer ‘yes’ or ‘no’ and
instead directing him to answer ‘yes’ or ‘no’ questions fully,” as Plaintiffs’ counsel did here, “is improper.”
Natural-Immunogenics, 2017 WL 10574264, at *8 (C.D. Cal. June 29, 2017).
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(i) all publications Mr. Youssef authored in the previous 10 years (Tr. 124:22-127:15); (ii) a list
of all cases in which, during the previous 4 years, Mr. Youssef testified as an expert at trial or by
deposition (Tr. 104:25-107:10); and (iii) a statement of the compensation paid for his testimony in
the case (Tr. 55:3-73:1).4 Plaintiffs admit below they have not complied with these requirements;
the Court should not rely on Plaintiffs’ promise to supplement, and should grant the motion and
order them to do so.
        In response to Plaintiffs’ footnoted claim that Defendants failed to meet and confer, the
parties met and conferred about Mr. Youssef’s nonresponsiveness, and Defendants’ need for more
deposition time, both throughout the deposition and immediately after. See, e.g., Exhibit A at 329.
       Finally, NSO is entitled to monetary sanctions under Rule 37(a), which provides that, when
a motion to compel deposition answers “is granted,” a “court must … require the party or deponent
whose conduct necessitated the motion … to pay the movant’s reasonable expenses incurred in
making the motion, including attorney’s fees.” Fed. R. Civ. P. R. 37(a)(5)(A) (emphasis added).


         II.   Plaintiffs’ Position
        On December 10, 2024, NSO deposed David Youssef, Plaintiffs’ chief technical witness,
for over seven and a half hours. During his deposition, Mr. Youssef complied with his Rule 30
obligations and responded truthfully and accurately to each of NSO’s questions. Contrary to
NSO’s position, Plaintiffs’ counsel did not prohibit Mr. Youssef from answering any questions,
nor did Plaintiffs’ counsel interpose any inappropriate commentary. Unsatisfied with its ability to
obtain trial-friendly soundbites on complex technical issues, NSO now needlessly burdens the
Court with this dispute and seeks to force Plaintiffs to incur the expense and time associated with
reopening Mr. Youssef’s deposition. Because Mr. Youssef complied with all of his obligations
under Rule 30, NSO’s request should be denied. Moreover, now that NSO has been found liable
on all of Plaintiffs’ claims, additional discovery on technical issues would be irrelevant and
unnecessary. The Court should therefore deny NSO’s motion for additional time.
               A. NSO’s Motion Is Likely Moot and Certainly Premature

         The Court’s December 20, 2024 decision granting Plaintiffs’ motions for summary
judgment and evidentiary sanctions, see Dkt. No. 494, should moot NSO’s request to obtain
additional deposition testimony from Mr. Youssef. The Court’s ruling states that “a trial will
proceed only on the issue of damages.” Id. at 16. Mr. Youssef’s report is silent on the amount of
time that Plaintiffs’ engineers spent remediating NSO’s attack, which forms the basis for
compensatory damages. More importantly, NSO’s basis for seeking additional deposition time
relates to issues that the Court has already adjudicated, such as whether NSO’s spyware exceeded

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 Defendants’ experts have done more than merely provide their hourly rate, as Plaintiff claims
below. Defendants’ experts have responded to questions in deposition asking the total amount of
compensation they or their firms have received in this matter. Mr. Youssef refused to do the same.
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authorized access or whether NSO reverse-engineered WhatsApp in violation of WhatsApp’s
Terms of Service.
       Moreover, the Court’s order directed the parties to “meet and confer to determine if any
expert-related motions are mooted by” the December 20, 2024 decision. Id. The parties have not
yet done so.5

       NSO asserts that Plaintiffs have refused to forgo calling Mr. Youssef, absent any
conversation or insight into NSO’s position. Of course, Plaintiffs cannot agree to forgo calling
Mr. Youssef under any circumstance, including, for example, if NSO is permitted to call its
technical expert. Plaintiffs believe it is inappropriate for NSO to be raising this dispute to the
Court at this time but have provided their portion of this joint letter because if Plaintiffs did not
provide it, NSO would file its letter anyway, just without any response from Plaintiffs. Plaintiffs
reserve all rights regarding the appropriate scope of the upcoming damages-only trial.6

               B. NSO Lacks Good Cause To Extend Mr. Youssef’s Deposition

        Federal Rule of Civil Procedure 30(d)(1) limits a deposition to one day of seven hours
absent agreement between the parties or a court order. Mr. Youssef has already sat for a seven-
and-a-half-hour deposition. “The party seeking a court order to extend the examination, or
otherwise alter the limitations, is expected to show good cause to justify such an order.” Fed. R.
Civ. P. 30 advisory committee’s note to 2000 amendment; see Lin v. Solta Med., Inc., 2024 WL
2845531, at *1 (N.D. Cal. June 5, 2024).
        First, Mr. Youssef answered every question that NSO’s counsel asked—and there is no
allegation that Mr. Youssef was instructed not to answer a single question. Cf. Dkt. No. 405-2 at
14–15 (describing NSO counsel’s instructions to NSO’s witnesses not to answer deposition
questions based on NSO’s relevance objections). This fact alone distinguishes many of the cases

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  There is no basis for NSO to assert that Plaintiffs “will not meet and confer” regarding the scope
of the damages-only trial. The Court issued its ruling on Friday, December 20, 2024. On Sunday,
December 22, 2024, Plaintiffs’ counsel emailed NSO’s counsel regarding “the parties’ need to meet
and confer regarding the scope of damages trial before we should burden the Court with any further
briefing on expert-discovery issues.” NSO’s counsel responded by stating that they “would like
to confer about the remedies being sought by Plaintiffs at the earliest possible time,” but did not
propose a time. As of the filing of this joint letter on Monday, December 23, 2024, the parties have
not yet met-and-conferred, but there is no reason for NSO to assert that Plaintiffs “will not meet
and confer.”
6
  NSO’s request should separately be denied because NSO failed to meet-and-confer, or otherwise
raise this issue, with Plaintiffs’ counsel before providing their portion of the joint letter. See Fed.
R. Civ. P. 37(a)(1) (requiring motion to compel to “include a certification that the movant has in
good faith conferred or attempted to confer with the person or party failing to make disclosure or
discovery in an effort to obtain it without court action”); see also N.D. Cal. Civ. R. 37-1(a). There
is no basis for NSO’s statement the parties conferred “immediately after” the deposition.
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that NSO relies upon. See Carter v. Telecare Corp., 2019 WL 6703392, at *6 (C.D. Cal. Aug. 16,
2019) (finding that deponents’ counsel’s “improper coaching and instructions not to answer
legitimate questions” caused deponent to “follow[] counsel’s lead and deliberately refuse[] to
answer simple, straightforward questions”).
       Second, Mr. Youssef swore an oath to provide truthful testimony—not testimony that
would be most helpful to NSO’s case. For instance, in the hopes of bolstering their now-rejected
argument that NSO did not exceed authorized access, NSO’s counsel repeatedly asked Mr.
Youssef whether NSO’s Pegasus went to “parts” of WhatsApp’s servers that ordinary WhatsApp
messaging traffic did not transit. See, e.g., Tr. at 328:2–5, 330:4–6, 331:11–13. Relying on his
extensive technical experience, Mr. Youssef continuously answered that the word “parts” lacks
any technical meaning, and therefore made it impossible to answer the question. Id. at 330:7–15,
331:16–19, 332:14–16. Mr. Youssef nonetheless proceeded to describe the way that NSO’s
Pegasus interacted with WhatsApp servers. Id. at 328:8–341:5. NSO should not be rewarded with
additional deposition time for repeatedly asking a poorly worded and technically imprecise
question.7
        In fact, the portions of the transcript that NSO cites illustrate Mr. Youssef’s attempts to
comply with his obligations. For instance, in response to NSO’s questions about whether Mr.
Youssef was aware that the FBI was at one point a customer of NSO, Mr. Youssef responded
repeatedly that NSO did not provide a customer list and that an opinion about the identity of NSO’s
customers was outside the scope of his expert report. See, e.g., Tr. at 239:11–14, 243:3–6. When
asked whether NSO executed code on Plaintiffs’ servers, Mr. Youssef repeatedly responded by
explaining the process by which NSO’s code was used in the May 2019 attacks. Tr. at 335:9–14.
And the transcript directly contradicts the argument that Mr. Youssef refused to answer questions
about the 403 errors. See Tr. at 293:7–13 (“[F]ollowing changes that WhatsApp made to their
server environment to essentially, cut off pre-Eden exploit steps that NSO was engaging in led to
NSO receiving a 403 error, which meant that their malware was forbidden from accessing those
same resources on WhatsApp servers that they were previously accessing.”).
        Third, to the extent that NSO’s counsel did not complete his examination within seven and
a half hours, that is a product of his own time-wasting. NSO’s counsel repeatedly made extensive
commentary on the record threatening Mr. Youssef with additional deposition time if he did not
provide alternative answers to NSO’s counsel’s questions. See, e.g., Tr. at 102:8–10 (speech


7
  NSO cites no case law forcing an expert witness to answer “yes or no” to technically
incomprehensible questions. In Natural-Immunogenics Corp. v. Newport Trial Group, a special
master merely ordered the lay witness to answer yes-or-no questions in light of, among other
things, “lengthy, argumentative and suggestive objection[s]” by counsel at the previous deposition.
2017 WL 10574264, at *8 (C.D. Cal. June 29, 2017). And in Newmark Group v. Avison Young
(Canada) Inc., the Rule 30(b)(6) deponent was clearly unprepared and read “nonresponsive
speeches” from a prepared outline. 2022 WL 1157476, at *3 (D. Nev. Apr. 19, 2022). By contrast,
Mr. Youssef’s answers reflected the specific, detailed analysis he performed in his technical report.
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ending with “We’re not going to waste all the time right now with this game playing”); Tr. at
184:13–15 (speech ending with “I’m just telling you what’s going to happen if we don’t start
having actual answers to my questions.”); Tr. at 271:22–24 (speech ending with “Otherwise, we’re
not going to be leaving and we’re going to hold this deposition open until all my questions are
answered.”). Similarly, NSO’s counsel repeatedly asked the same questions—sometimes
verbatim. See, e.g., Tr. at 183:24–188:9 (asking whether WhatsApp servers executed any code
written by NSO at least seven consecutive times). Mr. Youssef’s deposition could have certainly
been completed in under seven and a half hours had NSO’s counsel not repeated questions in the
hope of getting Mr. Youssef to change his answer. See N.D. Cal. Guidelines for Professional
Conduct § 9 (“A lawyer should avoid repetitive or argumentative questions or those asked solely
for purposes of harassment.”).
                C. Plaintiffs Have Complied With Their Obligations Under Rule 26(a)(2)(B)

       NSO’s requests to compel Mr. Youssef to provide additional disclosures under Rule
26(a)(2)(B) are also baseless. Mr. Youssef’s report lists the cases for which he testified at trial or
by deposition during the previous 4 years and a statement of his compensation.8 These disclosures
comply with Rule 26. See Fed. R. Civ. P. 26(a)(2)(B).9
       Based on NSO’s requests, Plaintiffs will provide NSO with a list of publicly available
writings published by his employer, FTI Consulting, that Mr. Youssef wrote on behalf of his
employer. Plaintiffs will also supplement the previous disclosure with the names of cases in which
Mr. Youssef testified as an expert since serving his expert report in this matter.
         For the reasons stated above, NSO’s requested relief should be denied.




                                               Sincerely,
                                               Aaron Craig, Counsel for Defendants
                                               Craig Cagney, Counsel for Plaintiffs




8
  Like NSO’s experts, Mr. Youssef included his hourly rate in his report. Courts have held that an
hourly rate has complied with the disclosure requirement. See, e.g., Monster Energy Co. v. Vital
Pharms., Inc., 2022 WL 17218077, at *27 (C.D. Cal. Aug. 2, 2022).
9
  Mr. Youssef did not “refuse” to answer questions about the total amount of compensation he or
his firms have received in this matter: he said that he did not “have that information as I sit here
today.” Tr. at 55:25–56.1
